1. While "all admissions shall be scanned with care, and confessions of guilt shall be received with great caution," and "a confession alone, uncorroborated by any other evidence, shall not justify a conviction" (Code, § 38-420), yet "a conviction may be lawfully had upon a free and voluntary confession, though the same be not otherwise corroborated than by proof of the corpus delicti." Burns v. State, 188 Ga. 22
(3), 28 (2 S.E.2d 627), and cit. The conviction of this defendant of murder by shooting the deceased with a pistol was amply authorized by a signed written confession that he shot the deceased in a hold-up, oral confession to the same effect made in the presence of five witnesses, coupled with testimony as to the free and voluntary character of the confessions, and with proof of the corpus delicti from witnesses who found the deceased immediately after he was fatally shot through the abdomen from the back, and with testimony as to a dying declaration by the deceased just before his death that he had been shot after a demand for his money.
2. The exception to the admission of testimony for the State, from the widow of the deceased, that about ten days before his death she had found at their back window a ladder and garbage-can which she had never seen before, is without merit, because: (1) In admitting the testimony *Page 878 
the court "for the time being" preserved the right of counsel to renew his objection, "in which event a final ruling will be made on it;" and not only does the record fail to show such a final ruling on objection, but it shows that substantially the same testimony was elicited on cross-examination by the defendant; (2) The testimony was admissible as corroboration of the confessions, which referred to the use of the ladder and can in an attempted previous burglary of the home of deceased. (3) There is a failure to show either what objection was made to the testimony, or on what ground the defendant excepts to its admission. Walthour v. State, 191 Ga. 613
(1, a, b), 615 (13 S.E.2d 659), and cit.; Worthy v.  State, 184 Ga. 402 (4) (191 S.E. 457), and cit.
(a) Exception is also taken to the admission of testimony by a next-door neighbor of the deceased, that the defendant stated in her presence, as to his having attempted to burglarize the home of the deceased two weeks before the homicide, that he "got a garbage can . . and put it up to the window, and it did not make [him] high enough, and then . . he said he got the ladder from the house next door to me. . . The defendant saw that ladder that day and identified the ladder." There is no merit in this ground, for the third reason stated in the immediately preceding ruling, and the additional reasons: (1) The record shows that substantially the same testimony was given by the witness, without objection; (2) The portion of the testimony as to what the defendant said was an essential part of the confession, and the remaining portion as to his act in identifying the ladder was properly admitted in corroboration of the confession then made, and like confessions made at other times.
3. Confessions "directly admitting the commission of the crime charged . . are direct evidence." Eberhart v. State,  47 Ga. 598 (8). Where, as in this case, the State introduces evidence as to such confessions, coupled with testimony as to their voluntary nature and proof of the corpus delicti, it is not error, especially in the absence of a request, to omit a charge to the jury of the law as to circumstantial evidence.  Brantley v. State, 154 Ga. 80 (5) (113 S.E. 200);  Smith v. State, 125 Ga. 296, 299 (54 S.E. 127);  Adsmond v. State, 47 Ga. App. 444 (4) (170 S.E. 525).
Judgment affirmed. All the Justicesconcur.
                        No. 14124. MAY 20, 1942.
Dock Moore was found guilty, without recommendation, of the murder of G. A. Baxley by shooting him with a pistol, and was sentenced to be executed. Besides the general grounds, there are exceptions to the admission of testimony and an exception to the failure, without request, to charge to the jury the law of circumstantial evidence.
The testimony showed that the deceased died from a hemorrhage in his intestines, caused by a bullet which entered his right buttock *Page 879 
and passed through the pelvis. Mrs. Baxley, the widow, testified that she and her husband drove from his parking lot in Atlanta to their home at 586 Willow Street, about midnight; that after she entered the house she saw him at the garage in the rear, heard talking, then pistol fire, went for help, and found him lying on the kitchen floor; and that he lived only three hours after being taken to a hospital. Mrs. S. B. Bishop, a next-door neighbor, testified that she heard the shot, went over to the Baxley home, saw Mrs. Baxley pick him up from the floor, and saw him on a bed and taken to the hospital.
R. E. Finley, a police officer, testified as to a dying declaration by the deceased: that he "said he had been shot . . and that he was hurt awfully bad. . . He said he loved his wife dearly, and was afraid he was going to die; . . that he went to the back to put his car up, after letting his wife out at the front, . . and [he] got out of the car and started up the back steps; . . some one told him to drop his purse, and he said, `I looked around and I seen it was a negro with a gun, and I just made a break to the back door, when I saw some one come on to the door,' and he said, `As I started in a shot was fired, and it struck me in the back.' is what he told me, in the back, and he said, `I fell.'"
E. D. Sutton, a deputy warden of convicts at Sandersville, testified, that about four months after the homicide, while he was taking the defendant from the camp to a road squad, the defendant asked that the Atlanta detective force be notified as to a statement the defendant wanted to make about being connected with a murder in Atlanta; that he took the defendant before the county warden, and heard him tell the warden that defendant went to the home of the deceased, "placed himself in the back yard, and when the man came in, . . held him up, and then is when he shot him . . with the same gun he did some shooting with in North Carolina."
W. H. Jenkins, warden, testified that the defendant asked him "to notify the authorities in Fulton County that he wanted to come back there and be tried for a murder that he was connected with. . . A few days after that, I had Mr. Sutton to bring him into the office, and we took his statement. . . He said at that time that he killed a parking-lot operator, a white man about thirty-five years old; that he did not know his name, but . . he said he *Page 880 
killed him at his home on Willow Street. He said he hung around the parking lot until he closed the place and left, and he said he went the nearer way home and waylaid and shot him when he started in the house. He said he shot him with officer Charles Haynes' pistol, that he had broke into officer Haynes' house and got his pistol . . that was on his person when he [was] brought back from North Carolina."
Several witnesses swore as to like statements by the defendant when brought to Atlanta and when taken to the scene of the homicide. D. L. Taylor, a member of the Atlanta detective force, testified, that in the latter part of September, 1941 [the homicide being in the previous April], the defendant told him and others present at police headquarters what had occurred; that they drove out in a car and asked the defendant where to go; that he directed the turns, and when in front of 586 Willow Street, "finally told us, `Stop here; this is the place it happened;' . . and he showed us how the car came in and drove on in the driveway . . and drove on around to the back; . . that he had been to [the same] home about two weeks prior to this, . . trying to break into this place; . . told us he had gotten a ladder down a couple of doors from there and brought it up to this place. He first got the garbage can, he said, and it was not high enough to reach the window, . . and as he started to go up the ladder, he said somebody turned on a light and he heard somebody walking, . . and so he ran away . . left the ladder there. Then on this particular night that he related to us that he did attempt to hold up this man and shoot him, he said he was standing in the yard across the street, kind of diagonally from where [the deceased lived]. He pointed out to us the place where he said he was hid across the street . . looking for something, and he saw this car drive in the driveway and saw the lady get out of it and walk up towards her home, and the man drove on back, . . and he said he hid by a pillar underneath the steps going up to the back door. He said he watched the man until he got out of the car and went in the back door, and when he started up the steps, he said he told him to drop his pocketbook; and he said he just kept on walking up the steps, and he ran up the steps behind him; and he said somebody come and opened the door for him, and just as he got in the door — the door was just cracked enough for him to squeeze in *Page 881 
— he said he shot him . . with a 38 pistol, but he did not tell me what kind of pistol it was. He said he had two pistols that night on him, and both of them were 38s."
M. M. Coppinger, another member of the Atlanta detective force, testified that when he went to Washington County to bring the defendant back to Atlanta, and asked the defendant what was the story he wanted to tell, the defendant said that "he killed a man on Willow Street, . . the parking-lot man;" and that when he drove with the defendant out to the scene of the homicide, the defendant related to him and other officers how it occurred, substantially as other witnesses testified, and the defendant said "he shot [the deceased] evidently in the back." This witness also mentioned the defendant's statements, referred to by other witnesses, as to a burglary attempt on the home of the deceased about two weeks before the homicide and the use of a ladder in such attempt.
Mrs. Bishop, the next-door neighbor of the deceased, who testified as to seeing him immediately after the fatal shot, also testified as to the statement which she heard the defendant make when taken to the home of the deceased; that "he showed in what position he was in and Mr. Baxley;" that "he said just as soon as Mrs. Baxley got inside the front door, he came across the street in between my house and Mrs. Baxley's house and got under the steps and stayed there until Mr. Baxley parked his car, had gotten out of his car and walked up to the steps — I would say the second one from the top; and he said, `This is a hold-up, drop your pocketbook,' and Mr. Baxley said `No,' and he showed how Mr. Baxley was fixing to push the door open when he stepped out from under the steps and fired at Mr. Baxley. . . He said, two weeks before this happened, he attempted to burglarize the Baxley home. . . He brought that up himself. He said, `I got that can over there next to the fence and put it up to the window, and it did not make me high enough, and then I got a step-ladder' — it is one of those home-made ladders that you use in fixing walls. He said he got the ladder from the house next door to me. It was in Mr. James' backyard. . . The defendant saw that ladder that day and identified the ladder. He said it was the one he used in looking through Mr. Baxley's window."
The widow of the deceased testified that, a week or ten days before her husband was killed, she "saw a ladder back there and a *Page 882 
garbage can at out back window," which she had never seen before.
The State introduced an alleged written confession, signed by the defendant in September, 1941, in the presence of five witnesses, repeating his alleged previous oral confessions at Sandersville, and relating the facts and circumstances of the homicide substantially as stated in the alleged oral confessions made in Atlanta, with additional details.
The defendant offered no testimony, but made to the jury a statement only as follows: "I was sentenced in Fulton County for sixty years. I was sent down to Sandersville, Georgia. I was down there on the road. They were working me hard on the pick, and they worked me so hard I wanted to transfer, and I could not get one, and I ran away and they caught me on the road, and I asked them for a transfer. He said, `Dock, there was a murder in Atlanta; if you will say you did it, I will send you to Atlanta.' And rather than be down there and be dogged and beat like they beat me down there, I was willing to take a chance, and they brought me back to Atlanta. And I said if they were going to try me for murder, I was going to naturally fight it."